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 8
 9                             UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
11
12   ANGEL A. MELGOZA,                               Case No. ____________________
13                        Plaintiff,                 NOTICE OF REMOVAL OF
14            v.                                     ACTION: UNDER 28 U.S.C. §
                                                     1441
15   EXPERIAN INFORMATION                            [FEDERAL QUESTION]
     SOLUTIONS, INC. and DOES 1
16   through 10, inclusive,
17                        Defendant.
18
19   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
20            Pursuant to 28 U.S.C. § 1441 et seq., Defendant Experian Information
21   Solutions, Inc. (“Experian”) hereby files a Notice of Removal for the above-
22   captioned action to this Court.
23            In further support of this Notice, Experian states:
24            1.       Experian is a named Defendant in Civil Action No. 14K15048 filed in
25   the Superior Court of the State of California, County of Los Angeles, Limited
26   Jurisdiction (the “State Court Action”).
27            2.       The Complaint in the State Court Action was filed with the Clerk of
28   the Superior Court of the State of California, County of Los Angeles on

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                                                                         NOTICE OF REMOVAL
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 1   November 13, 2013. Defendant Experian is the only defendant and was served
 2   with the Complaint on December 5, 2013.
 3            3.       This Notice is being filed with this Court within thirty (30) days after
 4   Defendant Experian received a copy of Plaintiff’s initial pleadings setting forth the
 5   claims for relief upon which Plaintiff’s action is based.
 6            4.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit A is a true
 7   and correct copy of Plaintiff’s Summons filed with the state court.
 8            5.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit B is a true
 9   and correct copy of Plaintiff’s Complaint filed with the state court.
10            6.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit C is a true
11   and correct copy of Plaintiff’s Civil Case Cover Sheet and Addendum filed with the
12   state court.
13            7.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit D is a true
14   and correct copy of Defendant’s Answer filed with the state court.
15            8.       Pursuant to 28 U.S.C. § 1446(d), Experian shall file a copy of this
16   Notice of Removal with the clerk of the State Court Action, and shall serve Plaintiff
17   through his attorney of record in the State Court Action with this Notice promptly
18   after its filing.
19            9.       The claims of relief against Experian alleged in the State Court Action
20   arise under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681-1681u. Thus, this
21   court has original subject matter jurisdiction over the above-captioned action
22   pursuant to 28 U.S.C. § 1331 and 15 U.S.C. § 1681p. The above-captioned action
23   may properly be removed to this United States District Court pursuant to 28 U.S.C.
24   § 1441(a) and (b).
25            10.      Defendant Experian does not waive any defense to the Complaint,
26   including but not limited to lack of service, improper service, or lack of personal
27   jurisdiction.
28   ///

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